Case 23-30672-5-wak Doc60 Filed 06/25/25 Entered 06/25/25 12:25:43 Desc Main

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United States Bankruptcy Court
Northern District of New York
All Divisions

This Form Is To Be Used For Motion! Calendar Only.
Case Name: Joseph A. DiMino, Jr.

Case No.: 23-30672
Division: Utica

Adversary Proceeding No. (if applicable):

(1 Adjournment Request? for Hearing on Motion at Docket No.:
Reason for Adjournment Request:
Original Return Date of Motion:

Number of prior adjournment request that have been made

|] Notification of Withdrawal of Motion; ( Opposition/Response; 0 Other:
at Docket No.:

Notification of Settlement of Motion at Docket No.: 53
Date of Hearing: 6/26/2025
Requested Adjourned Hearing Date:

Requesting Attorney’s Name, Office Address, Phone and Email Address:
Neil T Bhatt, 536 State St., Ogdensburg, NY 13669
neil@bhattlawfirm.net; 315-713-4837

Consent of All Parties Obtained? Yes L) No - Absent compelling reasons,
adjournments will not be granted without the consent of all parties.

Cc: Chapter 13 Trustee, US Trustee via ecf
This Form Must Be E-Filed Not Later Than 2 p.m. on the Day Prior
to the Hearing. When E-Filing, This Form Must Be Linked to the
Motion to Which the Request/Notification Pertains.

' The form to be used for confirmation calendar related matters is available on the Court's website.
> If your request is denied, you will be notified by Chambers.

CH:LR9013A(10/12/2023)
